Goon eC y=

United States Bankruptcy Court for the:
NORTHERN DISTRICT OF INDIANA

Case number (if known)

 

 

 

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Chapter you are filing under:

 

 

gE Chapter 7
CI Chapter 11
C1 Chapter 12
O Chapter 13 [] Check if this an
amended filing
Official Form 101 .
Voluntary Petition for Individuals Filing for Bankruptcy —__ 42/17

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2, The same person must be Debtor 7 in

all of the forms.

Be as complete and accurate as possibile. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer

every question.

 

| Identify Yourself

About Debtor 14:
1. Your full name

Write the name that is on Hajrudin
your government-issued First name
picture identification (for

example, your driver's

About Debtor 2 (Spouse Only in a Joint Case):

Sanda
First name

 

license or passport). Middle name

Bring your picture Catic

identification to your -
meeting with the trustee. Last name and Suffix (Sr., Jr., Il, II)

Middle name

Catic
Last name and Suffix (Sr., Jr., Il, Il)

 

2. All other names you have
used in the last 8 years

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XXX-XX-6 254.
Individual Taxpayer
Identification number
(ITIN)

XXX-xx-1518

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 
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f

Debtor1 Hajrudin Catic
Debtor2 Sanda Catic

4. Any business names and
Employer Identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

Case 19-11184-reg

About Debtor 1:

| have not used any business name or EINs.

Aco TRavseoryT we

Business name(s)

Hip - HATO862.

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Case number (if known)

 

About Debtor 2 (Spouse Only in a Joint Case):

I | have not used any business name or EINs.

 

Business name(s)

 

EINs

 

EINs

 

5. Where you live

12351 Gondola Parkway
Fort Wayne, IN 46845

lf Debtor 2 lives at a different address:

 

Number, Street, City, State & ZIP Code

Allen

 

Number, Street, City, State & ZIP Code

 

County

if your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

County

If Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

Ever the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

| | have another reason.
Explain. (See 28 U.S.C. § 1408.)

Check one:

Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

[1 | have another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 
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Debtor1 Hajrudin Catic

Debtor2 Sanda Catic

Teil the Court About Your Bankruptcy Case

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Case number (if known)

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under

Ei Chapter 7

C1 Chapter 14

C Chapter 12

O Chapter 13

8. Howyouwillpay the fee i [will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

[i I need to pay the fee in installments, If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in Installments (Official Form 103A).

C_ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for Bi No.

bankruptcy within the
last 8 years? 0 Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy EI No
cases pending or being
filed by aspouse whois (1 Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your No. Go to line 12,
residence?

C] Yes.

Has your landlord obtained an eviction judgment against you?

O
C

No. Go to line 12.

Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of

this bankruptcy petition.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 3

 
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Debtor1 Hajrudin Catic
Debtor2 Sanda Catic

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Case number (if known)

 

ae Report About Any Businesses You Own as a Sole Proprietor

 

12. Are youa sole proprietor

of any full- or part-time
business?

A sole proprietorship is a
business you operate as
an individual, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

lf you have more than one
sole proprietorship, use a
separate sheet and attach
it to this petition.

EI No. Go to Part 4.

Ol Yes. Name and location of business

 

Name of business, if any

 

Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
Health Care Business (as defined in 11 U.S.C. § 101(27A))

Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))
Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

OOodoOd

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a definition of small
business debtor, see 11
U.S.C. § 101(51D).

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
deadlines. \f you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
in 11 U.S.C. 1116(1)(B).

No. lam not filing under Chapter 11.

CI No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
Code.

C1 Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Code.

 

14.

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

EE No.

C] Yes.
What is the hazard?

 

If immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 4

 
e '
Debtor1 Hajrudin Catic
Debtor2 Sanda Catic

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Case number (if known)

 

 

Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:
You must check one:

O

| received a briefing from an approved credit BB
counseling agency within the 180 days before |

filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit QO
counseling agency within the 180 days before |

filed this bankruptcy petition, but | do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling oO
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

| am not required to receive a briefing about 0
credit counseling because of:

[] Incapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

O_sODisability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

C1 Active duty.
| am currently on active military duty in a
military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

I certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days,

lam not required to receive a briefing about credit
counseling because of:

1 Incapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

Disability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

Ol Active duty.
| am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 5

 
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Debtor1 Hajrudin Catic
Debtor2 Sanda Catic

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Case number (if known)

 

Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

C] No. Go to line 16b.

Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

CJ No. Go to line 16c.

0 Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under

CINo, Jam not filing under Chapter 7. Go to line 18.

 

 

Chapter 7?
Do you estimate that @ Yes! am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt “are paid that funds will be available to distribute to unsecured creditors?
property is excluded and
administrative expenses No
are paid that funds will
be available for Cl Yes
distribution to unsecured
creditors?
18. How many Creditors do Hl 4-49 1 1,000-5,000 C1 25,001-50,000
you estimate thatyou 1 50.99 C1 5001-10,000 C1 50,001-100,000
: C1 100-199 CF 40,001-25,000 C] More than100,000
[J 200-999
19. How much do you [1 $0 - $60,000 C1] $1,000,001 - $10 million C1] $500,000,001 - $4 billion

estimate your assets to
be worth?

C1 $50,001 - $100,000
Il $100,001 - $500,000
[1] $500,001 - $1 million

CJ $10,000,001 - $50 million
CJ $50,000,001 - $100 million
CJ $100,000,001 - $500 million

CJ $4,000,000,001 - $10 billion
[1 $10,000,000,001 - $50 billion
[] More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

CI $0 - $50,000

CO $50,001 - $100,000
C1 $100,001 - $500,000
C1 $500,001 - $1 million

El $1,000,001 - $10 million

D $10,000,001 - $50 million
1 $50,000,001 - $400 million
[4 $100,000,001 - $500 million

Ci $500,000,001 - $1 billion

[] $1,000,000,001 - $10 billion
CJ $10,000,000,004 - $50 billion
C] More than $50 billion

 

Sign Below

 

For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

if | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fi to $250,000, or imprisonment wa 20 years, or both, 18 U.S.C. §§ 152, 1341, 1519,

 

a : eee 1 ey, te / ye
eX

Alajrudin Catic SandaXatic
Signature of Debtor 1 Signature of Debtor 2
Executed on fo ~l LA Executed on O FI (19

 

 

MM/DD/YYYY MM /DD/YYYY

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 6

 
é t
Debtor1 Hajrudin Catic
Debtor2 Sanda Catic

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Case number (if known)

 

 

For your attorney, if you are
represented by one

If you are not represented by
an attorney, you do not need
to file this page.

  
   
 

I, the attorney for the debtdr(&) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or\13\of title 11, United States Code, and have explained the relief available under each chapter
for which the person is eligikle,| | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
and, in a case in which § 70%(b)(4)(D) applies, certify that | have no knowledge after an inquiry that the information in the
schedules filed with the petitionjis incorrect.

———— FL a Date Tat! 9

 

   

Senature + Aitorney for rh \ MM/DD/YYYY {

Fred Wehrwein
Printed name \
Fred Wehrwein, P.C. |

Firm name

1910 St. Joe Center RqJ, #52

Fort Wayne, IN 46825
Number, Street, City, State & ZIP Cofle

 

Contact phone 260-480-5700 Email address Wehrweinpc@aol.com

 

 

1405-02 IN

Bar number & State

 

Official Form 104

Voluntary Petition for Individuals Filing for Bankruptcy page 7

 
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Fill in this:information-to identify your :case:- °°: °----
Debtor 1 Hajrudin Catic

First Name Middie Name Last Name

Debtor 2 Sanda Catic
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © NORTHERN DISTRICT OF INDIANA

Case number
(if known) (1 Check if this is an

amended filing

 

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B........ccsssesescsnseseeseresstenssensseessserssesrsresstesseseaeessensreeerniansesenses $ 285,000.00
1b. Copy line 62, Total personal property, from Schedule A/B.... cesses recrerenersrscnenisersese tetris $ 61,100.00
1c. Copy line 63, Total of all property on Schedule A/B..... cesses teres rsesenneerseenessenessseerseseneeisrnstnessearientenseti $ 346,100.00

Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

2a, Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 959,902.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F... cesses $ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F.... cee $ 196,455.00
Your total liabilities | $ 1,156,357.00
Summarize Your Income and Expenses
4. Schedule |: Your Income (Official Form 1061)
Copy your combined monthly income from line 12 of SChECUIE bic cece ce eeetteretenessetetietseeeesenesaeeneesseneeetanies $ 3,485.00
5. Schedule J: Your Expenses (Official Form 106J
penses ( ) $ 3,985.00

Copy your monthly expenses from line 22c Of SCHECUIC J. i ccecccccstertertestereseetterreeststtersesntecnerereirertats
Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

HM Yes
7. What kind of debt do you have?

Mm Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

Cl Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Debtor1 Hajrudin Catic
Debtor2 Sanda Catic Case number (if known)

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ it ) a; ys OO

9, Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

 

 

 

 

-Total claim

From Part 4 on Schedule E/F, copy the following: :
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
Od. Student loans. (Copy line 6f.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 0.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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-Fill-in-this information to identify.your:case .and-this filing: -- ~~-
Debtor 1 Hajrudin Catic

First Name Middle Name Last Name

Debtor 2 Sanda Catic
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA

Page 10 of 40

 

Case number

 

 

C] Check if this is an
amended filing

 

Official Form 106A/B
Schedule A/B: Property

 

12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).

Answer every question.
Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
4. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

[1 No. Go to Part 2.
Hl Yes. where is the property?

 

 

 

 

 

 

14 What is the property? Check all that apply
12351 Gondola Parkway Mi Single-family home Do not deduct secured claims or exemptions, Put
Street address, if available, or other description i-unit build the amount of any secured claims on Schedule D;
Cj Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
(1 Manufactured or mobile home
Current value of the Current value of the
Fort Wayne IN 46845-0000 OO Land entire property? portion you own?
City State ZIP Code C1 Investment property $285,000.00 $285,000.00
Timesh
C1 Timeshare Describe the nature of your ownership interest
C) Other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
C1 Debtor 4 only IST WoRTG.
Allen D1 bebtor 2 only
County MH Debtor 1 and Debtor 2 onl
ore only O Check if this is community property
C At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
Official Form 106A/B Schedule A/B: Property page 1
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Debtor 1
Debtor 2

Hajrudin Catic
Sanda Catic

Case number (if known)

If you own or have more than one, list here:

 

 

 

 

 

 

 

1.2 What is the property? Check all that apply
12351 Gondola Parkway Hi Single-family home Do not deduct secured claims or exemptions, Put
Street address, if available, or other description Duplex or multi-unit buildi the amount of any secured claims on Schedule D:
Cc pre mutti-unit building Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
(1 Manufactured or mobile home
Current value of the Current value of the
Fort Wayne IN 46845-0000 C1 Land entire property? portion you own?
City State ZIP Code [1] Investment property $0.00 $0.00
Timeshare
4 Describe the nature of your ownership interest
Other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
C1 Debtor 4 only Second mortg.
Allen C1 bebtor 2 only
County El Debtor 1 and Debtor 2 only seetcs .
Check if this is community property
CO At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here........ececcsesssecesrsersesasensecenseeseneseeessesneeneesee => $285,000.00

 

 

 

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

[1 No
i Yes
3.1. Make: Ford Who has an interest in the property? Check one Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model; F-150 DO Debtor 4 only Creditors Who Have Claims Secured by Property.
Year:
2013 C1 Debtor 2 only Current value of the Current value of the

EH bebtor 4 and Debtor 2 only entire property? portion you own?

C1 At least one of the debtors and another

Approximate mileage:
Other information:

 

$1,500.00 $1,500.00

CJ Check if this is community property
(see instructions)

 

 

 

 

 

Do not deduct secured claims or exemptions. Put

. : Ford i i ?
3.2 Make: Who has an interest in the property? Check one the amount of any secured claims on Schedule D:
Mode: CargoVan [ Debtor 4 only Creditors Who Have Claims Secured by Property.
Year:
2018 C1 Debtor 2 only Current value of the Current value of the

Ef pebtor 1 and Debtor 2 only entire property? portion you own?

[1 At least one of the debtors and another

Approximate mileage:
Other information:

 

 

 

 

 

 

C1 check if this is community property $36,000.00 $36,000.00
(see instructions)
Official Form 106A/B Schedule A/B: Property page 2

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Debtori Hajrudin Catic

 

Debtor2 Sanda Catic Case number (if known)
3.3. Make: Honda Who has an interest in the property? Check one Do not deduct secured claims or exemptions. Put
nee the amount of any secured claims on Schedule D:
Model: Odyssey CJ Debtor 4 only Creditors Who Have Claims Secured by Property.
Year:
20 O Debtor 2 only Current value of the Current value of the
Approximate mileage: Bi Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: C1] At least one of the debtors and another

 

Cl Check if this is community property $18,000.00 $18,000.00

(see instructions)

 

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

 

 

 

 

 

 

 

C1 No
BE Yes
. j i ?
4.1. Make: Who has an interest in the property? Check one Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: CF] Debtor + only Creditors Who Have Claims Secured by Property.
Year:
ear rs D1 Debtor 2 only Current value of the Current value of the
Bi pebtor 1 and Debtor 2 only entire property? portion you own?
Other information: [1] At least one of the debtors and another
. C1 Check if this is community property $500.00 $500.00
boat, motor & trailer (see instructions)
5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number Nere.........cesscucseseersnersenecnsesevsnsrsevseveusionsennneeanens => $56,000.00

 

 

 

 

awieee Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

6. Household goods and furnishings

Examples: Major appliances, furniture, linens, china, kitchenware

0 No
i Yes. Describe...

 

| Households Goods and Furnishings $1,000.00

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices

including cell phones, cameras, media players, games

C1 No
IB Yes. Describe...

 

2 TVs, 2 Cell Phones, 2 computers, printer | $1,200.00

 

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;

other collections, memorabilia, collectibles
Ei No
[] Yes. Describe...

9, Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;

musical instruments

[J No

M@ Yes. Describe.....
Official Form 106A/B Schedule A/B: Property page 3

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Debtor1 Hajrudin Catic
Debtor2 Sanda Catic Case number (if known)

 

| Bow-flex machine exercise machine | $500.00

 

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

[No
Hi Yes. Describe...

 

 

 

 

/1 pistol $100.00
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
CI No
Hl Yes. Describe.....
| Clothes | $500.00

 

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

L] No
Hi Yes. Describe...

 

| wedding rings & everyday Jewelry $1,000.00

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

HE No
C] Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
HNo
C] Yes. Give specific information...

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here ........ cece sees seer seesssensreeeeenseseceeseensesseesersuaneees $4,300.00

 

 

 

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

16. Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
[No

Cash $50.00

 

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar

institutions. If you have multiple accounts with the same institution, list each.

CI No
ves... Institution name:
Official Form 106A/B Schedule A/B: Property page 4

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Debtor1 Hajrudin Catic
Debtor2 Sanda Catic Case number (if known)

17.1. Checking Chase Bank $10.00

 

17.2. Checking First Source Bank $740.00

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

EE No
Cl Yes Institution or issuer name:.

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture
Hi No

C1 Yes. Give specific information about them...........00
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Ei No

(J Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

No

[1 Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

HNo
CT VES. voecccccccccccsscses Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

MI No
0 yes Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

No
Cl Yes Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25, Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
No
[] Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: |nternet domain names, websites, proceeds from royalties and licensing agreements

HI No
1 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

EINo
Cl Yes. Give specific information about them...
Money or property owed to you? Current value of the

portion you own?
Do not deduct secured

Official Form 106A/B Schedule A/B: Property page §

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Debtor1 Hajrudin Catic
Debtor2 Sanda Catic Case number (if known)

claims or exemptions.

28. Tax refunds owed to you
EiNo
CO Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

EI No

C1] Yes. Give specific information...

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security

benefits; unpaid loans you made to someone else
EB No

C] Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

Ei No

[ Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because

someone has died.
Fi No

C] Yes, Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Bi No
[ Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
HNo

Cl Yes. Describe each claim.........

35. Any financial assets you did not already list
MI No

C] Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that NUMber Her e.........ccsscccssssesseecsssssseseeseeeeeseenseeacesaneesaeesnranseoscersrprenseeassarssensaesnsaaasreaeensperenss $800.00

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
EI No. Go to Part 6.
Dyes. Go to line 38.

psc iaemme Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmiand, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
I No. Go to Part 7.
C1 Yes. Go to line 47.

Official Form 106A/B Schedule A/B: Property page 6

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Debtor? Hajrudin Catic

 

Debtor2 Sanda Catic Case number (if known)
Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

EI No
CO Yes. Give specific information.........

 

54. Add the dollar value of all of your entries from Part 7. Write that number here oo... secs $0.00

 

 

 

= a List the Totals of Each Part of this Form

  

 

 

 

 

55. Part 1: Total real estate, Wine 20... ss ecenssssesescceneessessseseresseesnessusenseeeassnscsesesecensnsaesueseesnrasaeeaserendeeeneneneseninaees $285,000.00

56. Part 2: Total vehicles, line 5 $56,000.00

57. Part 3: Total personal and household items, line 15 $4,300.00

58. Part 4: Total financial assets, line 36 $800.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $61,100.00 Copy personal property total $61,100.00

63. Total of all property on Schedule A/B. Add line 55 + line 62 $346,100.00
Official Form 106A/B Schedule A/B: Property page 7

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-Fill-in:this information to identify-your case: ==

Debtor 4 Hajrudin Catic

First Name Middle Name Last Name
Debtor 2 Sanda Catic
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA

Case number
{if known) [) Check if this is an

amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 416

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and

case number (if Known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited

to the applicable statutory amount.

fi Identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
MM You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C1 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the vaiue from Check only one box for each exemption.

Schedule A/B
12351 Gondola Parkway Fort Wayne, $285,000.00 ia $38,600.00 nd. Code § 34-55-10-2(c)(1)
IN 46845 Allen County : ‘
Line from Schedule A/B: 1.1 C) 100% of fair market value, up to

any applicable statutory limit

12351 Gondola Parkway Fort Wayne, $0.00 wi $0.00 Ind. Code § 34-55-10-2(c)(1)
IN 46845 Allen County
Line from Schedule A/B: 1.2 OC 400% of fair market value, up to

any applicable statutory limit

 

2013 Ford F-150 Ind. Code § 34-55-10-2(c)(2)
$1,500.00 $0.00
Line from Schedule A/B: 3.1

 

C] 400% of fair market value, up to
any applicable statutory limit

 

2018 Ford Cargo Van Ind. Code § 34-55-10-2(c)(2)
$36,000.00 Ml $0.00
Line from Schedule A/B: 3.2

 

Cl 400% of fair market value, up to
any applicable statutory limit

 

2016 Honda Odyssey $18,000.00 | $7,339.00 Ind. Code § 34-55-10-2(c)(2)
Line from Schedule A/B: 3.3

 

O 100% of fair market value, up to
any applicable statutory limit

 

OT AL
5, S39. 00

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2

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Debtor1 Hajrudin Catic

 

 

Debtor2 Sanda Catic Case number {if known)
Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
boat, motor & trailer $500.00 $500.00 ‘Ind. Code § 34-55-10-2(c)(2)

 

Line from Schedule A/B: 4.1
XC 400% of fair market value, up to
any applicable statutory limit

 

Households Goods and Furnishings $1,000.00 $1,000.00 Ind. Code § 34-55-10-2(c)(2)
Line from Schedule A/B: 6.1 : *

 

CO 100% of fair market value, up to
any applicable statutory limit

 

 

2 TVs, 2 Cell Phones, 2 computers, $1,200.00 i $1,200.00 ‘Ind. Code § 34-55-10-2(c)(2)
printer : :
Line from Schedule A/B: 7.1 XC 400% of fair market vatue, up to

any applicable statutory limit

 

Bow-flex machine exercise machine $500.00 $500.00 ‘Ind. Code § 34-55-10-2(c)(2)
Line from Schedule A/B: 9.1

 

CO 400% of fair market value, up to
any applicable statutory limit

 

1 pistol $100.00 wy $100.00 Ind. Code § 34-55-10-2(c)(2)
Line from Schedule A/B: 10.1

 

Cl 400% of fair market value, up to
any applicable statutory limit

 

Clothes $500.00 $500.00 Ind. Code § 34-55-10-2(c)(2)
Line from Schedule A/B: 11.1

 

[] 400% of fair market value, up to
any applicable statutory limit

 

wedding rings & everyday Jewelry $1,000.00 $1,000.00 ‘Ind. Code § 34-55-10-2(c)(2)
Line from Schedule A/B: 12.1 : 2

 

CO 400% of fair market value, up to
any applicable statutory limit

 

Cash $50.00 Ml $50.00 Ind. Code § 34-55-10-2(c)(3)
Line from Schedule A/B: 16.14

 

C1 100% of fair market value, up to
any applicable statutory limit

 

Checking: Chase Bank $10.00 $10.00 Ind. Code § 34-55-10-2(c)(3)
Line from Schedule A/B: 17.1

 

F1  100% of fair market value, up to
any applicable statutory limit

 

Checking: First Source Bank $740.00 $740.00 Ind. Code § 34-55-10-2(c)(3)
Line from Schedule A/B: 17.2

 

L] 400% of fair market value, up to
any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

Mi No
(Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

Cl No
Cl Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2

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Fill in this information to identify-your case: - =

Debtor 1

First Name

Sanda Catic

First Name

Debtor 2
(Spouse if, filing)

United States Bankruptcy Court for the:

Case number

Hajrudin Catic

Middle Name Last Name

Middle Name Last Name

NORTHERN DISTRICT OF INDIANA

 

 

(if known)

 

 

Official Form 106D

Schedule D: Creditors Who Have Ciaims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case

number (if known).

1. Do any creditors have claims secured by your property?
[1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

Il Yes. Fill in all of the information below.

List All Secured Claims

{] Check if this is an
amended filing

12/15

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: : : ae , Column A Column B Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. if more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name. Do not deduct the that supports this portion
value of collateral. claim If any
2.1 | 4st Source Bank Describe the property that secures the claim: $30,000.00 $0.00 $30,000.00
Creditor's Name 12351 Gondola Parkway Fort
Wayne, IN 46845 Allen County
soe As of the dat file, the claim is:
100 N. Michigan a e date you file, the claim is: Check all that
South Bend, IN 46624 0 Contingent
Number, Street, City, State & Zip Code g Unliquidated
C1 Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
1 Debtor 4 only BB an agreement you made (such as mortgage or secured
[7] Debtor 2 only car loan)
MF pebtor 1 and Debtor 2 only (1 Statutory lien (such as tax lien, mechanic's lien)
C1 At least one of the debtors and another §=O Judgment lien from a lawsuit
CI Cheek if this claim relates to a OD other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2.2 | 41st Source Bank Describe the property that secures the claim: $52,100.00 $0.00 $52,100.00
Greditor’s Name 2015 Cascadia Freightliner
Business
P.O. Box 783 aa the date you file, the claim is: Check all that
South Bend, IN 46624 Cl contingent
Number, Street, City, State & Zip Code | Unliquidated
Oo Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only ll an agreement you made (such as mortgage or secured
[1] Debtor 2 only car loan)
CO Debtor 4 and Debtor 2 only CJ Statutory lien (such as tax lien, mechanic's lien)
Il At least one of the debtors and another _E] Judgment lien from a lawsuit
C] Check if this claim relates to a 0 other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 6

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Best Case Bankruptcy

 
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Debtor 1 Hajrudin Catic

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

First Name Middle Name Last Name
Debtor2 Sanda Catic
First Name Middle Name Last Name
2.3 | 1st Source Bank Describe the property that secures the claim: $58,100.00 $0.00 $58,100.00
Creditors Name 2016 Cascadia
Freightliner Business
file, the claim is:
P.O. Box 783 aa the date you file, the claim is: Check all that
South Bend, IN 46624 Cl contingent
Number, Street, City, State & Zip Code Ez Unliquidated
C1 Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
[J Debtor 1 only El An agreement you made (such as mortgage or secured
CO] Debtor 2 only car loan)
C1 Debtor 1 and Debtor 2 only C} Statutory lien (such as tax lien, mechanic's lien)
H At least one of the debtors and another F Judgment lien from a lawsuit
C] Check if this claim relates to a CJ other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2.4 | Advantage + Describe the property that secures the claim: $4,500.00 $0.00 $4,500.00
Creditors Name 2006 Volvo
Semi Business
Dept. 59475 an the date you file, the claim is: Check all that
Milwaukee, WI 53259 CF contingent
Number, Street, City, State & Zip Code ml Unliquidated
C] Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 4 only i An agreement you made (such as mortgage or secured
CJ Debtor 2 only car loan)
(C1 Debtor 1 and Debtor 2 only a Statutory lien (such as tax lien, mechanic's lien)
F At least one of the debtors and another E1 Judgment lien from a lawsuit
C1 check if this claim relates to a C1 other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2.5 | Banterra Bank Describe the property that secures the claim: $58,000.00 $0.00 $58,000.00
Creditors Name 2016 Cascadia
Freightliner Business
f the dat file, the claim is:
3204 Banterra Dr. aa he date you file, the claim is: Check all that
Marion, IL 62959 C1] contingent
Number, Street, City, State & Zip Code | Unliquidated
oO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C] Debtor 1 only EE an agreement you made (such as mortgage or secured
C1 Debtor 2 only car loan)
C1 Debtor 1 and Debtor 2 only | Statutory lien (such as tax lien, mechanic's lien)
H@ At least one of the debtors and another ~_E] Judgment tien from a lawsuit
Cl check if this claim relates toa CZ other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
BMO Harris Bank Describe the property that secures the claim: $40,125.00 $0.00 $40,125.00
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 6

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Best Case Bankruptcy

 
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Debtor 1 Hajrudin Catic

Case number (if known)

 

 

First Name Middle Name Last Name
Debtor2 Sanda Catic
First Name Middle Name Last Name

 

Creditor's Name

P.O. Box 71951
Chicago, IL 60694

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

C1 debtor 4 only

[7 Debtor 2 only

C1 Debtor 4 and Debtor 2 only

a At least one of the debtors and another

C1 check if this claim relates to a
community debt

Date debt was incurred

 

2015 Volvo 780
Buisness

 

 

As of the date you file, the claim is: Check ail that

apply.

Cj Contingent

Ei Unliquidated

| Disputed

Nature of lien. Check all that apply.

An agreement you made (such as mortgage or secured
car loan)

Cl Statutory lien (such as tax lien, mechanic's lien)

a Judgment lien from a lawsuit

C] other (including a right to offset)

 

 

Last 4 digits of account number

 

 

Cit Digital/Direct Capital

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

27 Leases Describe the property that secures the claim: $134,303.00 $0.00 $134,303.00
Creditors Name 2019 Hyundai
Dry Van Business
file, the claim is: c
155 Commerce Way aie the date you file, the claim is: Check all that
Portsmouth, NH 03801 [1 contingent
Number, Street, City, State & Zip Code a Unliquidated
0 Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only Hi An agreement you made (such as mortgage or secured
CJ Debtor 2 only car loan)
[J Debtor 1 and Debtor 2 only Cc Statutory lien (such as tax lien, mechanic's lien)
at least one of the debtors and another ~_E1 Judgment lien from a lawsuit
L] Check if this claim relates to a C1 other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2.8 | Honda Financial Services Describe the property that secures the claim: $10,661.00 $18,000.00 $0.00
Creditor's Name 2016 Honda Odyssey
As of the dat file, the claim is: Check all that
P.O. Box 5308 ~~ eek aliine
Elgin, IL 60121 Cl contingent
Number, Street, City, State & Zip Code a Unliquidated
Cl Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C Debtor 1 only Hl An agreement you made (such as mortgage or secured
C1 Debtor 2 only car loan)
If pebtor 1 and Debtor 2 only C statutory lien (such as tax lien, mechanic's lien)
1] At least one of the debtors and another = Judgment lien from a lawsuit
C1 Check if this claim relates to a C1 other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
NewRez Describe the property that secures the claim: $225,000.00 $285,000.00 $0.00
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 3 of 6

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Best Case Bankruptcy

 
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Debtor 1 Hajrudin Catic

Case number (if known)

 

 

First Name Middle Name Last Name
Debtor2 Sanda Catic
First Name Middle Name Last Name

 

Creditors Name

P.O. Box 51850
Livonia, Mi 48151

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

CO Debtor 1 only

C] Debtor 2 only

EE pebtor 4 and Debtor 2 only

1] At least one of the debtors and another

CI Check if this claim relates to a
community debt

Date debt was incurred

 

12351 Gondola Parkway Fort
Wayne, IN 46845 Allen County

 

 

As of the date you file, the claim is: Check all that

apply.

CJ Contingent

E# Unliquidated

[1 Disputed

Nature of lien. Check all that apply.

An agreement you made (such as mortgage or secured
car loan)

Cj Statutory lien (such as tax lien, mechanic's lien)

C] Judgment lien from a lawsuit
C other (including a right to offset)

 

 

Last 4 digits of account number

 

 

21

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

0. |Partners 1st Describe the property that secures the claim: $38,650.00 $36,000.00 $2,650.00
Greditor's Name 2018 Ford Cargo Van
. As of the dat file, the claim is: Check all that
1330 Directors Row me ‘Ss Check allina
Fort Wayne, IN 46808 C1 contingent
Number, Street, City, State & Zip Code B Uniiquidated
| Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 4 only ll An agreement you made (such as mortgage or secured
C1 Debtor 2 only car loan)
EB pebtor 1 and Debtor 2 only CZ statutory lien (such as tax lien, mechanic's lien)
[J At least one of the debtors and another =] Judgment lien from a lawsuit
] Check if this claim relates to a C) other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2.1 | Sumitomo Finance and
1 Leasing Describe the property that secures the claim: $178,622.00 $0.00 $178,622.00
Creditor’s Name 2015 Trailer
Business
: As of the date you file, the claim is: Check all that
666 Third Ave. 8th floor = amy sae
New York, NY 10017 [] contingent
Number, Street, City, State & Zip Code | Unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
EX Debtor 4 only Ml An agreement you made (such as mortgage or secured
C1 Debtor 2 only car loan)
C] pebtor 1 and Debtor 2 only Cj Statutory lien (such as tax llen, mechanic's lien)
Wl At least one of the debtors and another 0 Judgment lien from a lawsuit
LJ Check if this claim relates to a C] other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 4 of 6

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Debtor 1 Hajrudin Catic

Case number (if known)

 

 

First Name Middle Name Last Name
Debtor2 Sanda Catic
First Name Middle Name Last Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2.1
2 | Teachers Credit Union Describe the property that secures the claim: $9,000.00 $1,500.00 $7,500.00
Creditor's Name 2013 Ford F-150
. As of the date you file, the claim is: Check all that
110 South Main St. oy ewes
South Bend, IN 46624 [1 Contingent
Number, Street, City, State & Zip Code oO Unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
D1 Debtor 4 only El An agreement you made (such as mortgage or secured
CJ Debtor 2 only car loan)
IZ Debtor 1 and Debtor 2 only [1 statutory lien (such as tax lien, mechanic's lien)
C1] At least one of the debtors and another =] Judgment lien from a lawsuit
[J] Check if this claim relates to a CI other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2.1 . . ;
3 | Volvo Financial Services Describe the property that secures the claim: $86,841.00 $0.00 $86,841.00
Creditor's Name 2017 Volvo 780
Business
As of the date you file, the claim is: Check all that
P.O. Box 26131 oy sae
Greensboro, NC 27402 C1 contingent
Number, Street, City, State & Zip Code a Unliquidated
CJ pisputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only EE an agreement you made (such as mortgage or secured
C] Debtor 2 only car loan)
Cl Debtor 1 and Debtor 2 only | Statutory llen (such as tax flen, mechanic's lien)
MM At least one of the debtors and another [1 Judgment lien from a lawsuit
C] Check if this claim relates to a DO other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2.1 ;
4 | Wabash National Describe the property that secures the claim: $34,000.00 $0.00 $34,000.00
Creditor’s Name 2016 Wabash
Dry van Business
: As of the dat u file, the claim is: Check all that
655 Buisness Center Dr. oe St Geek all tha
Horsham, PA 19044 oO Contingent
Number, Street, City, State & Zip Code EB Uniiquidated
C] Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 4 only Hl An agreement you made (such as mortgage or secured
[1 Debtor 2 only car loan)
C] Debtor 1 and Debtor 2 only CO Statutory lien (such as tax llen, mechanic's lien)
MM At least one of the debtors and another. ~_F] Judgment lien from a lawsuit
(J Check if this claim relates to a C] other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 5 of 6

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Best Case Bankruptcy

 
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Debtor 1 Hajrudin Catic Case number (if known)
First Name Middle Name Last Name
Debtor2 Sanda Catic
First Name Middle Name Last Name
Add the dollar value of your entries in Column A on this page. Write that number here: $959,902.00
If this is the last page of your form, add the dollar value totals from all pages.
Write that number here: $959,902.00

 

 

 

List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 6 of 6

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hee) eee to identify WPellgcr a

 

 

 

Debtor 1 Hajrudin Catic

First Name Middle Name Last Name
Debtor 2 Sanda Catic
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © NORTHERN DISTRICT OF INDIANA

Case number
(if known) (1 +Check if this is an

amended filing

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your

name and case number (if known).
List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

 

E@l No. Go to Part 2.

[] Yes.
Heelies List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

 

C] No. You have nothing to report in this part. Submit this form to the court with your other schedules.

a Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of

 

 

 

 

 

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Part 2.
Total claim
41 American Express Last 4 digits of account number $27,055.00
Nonpriority Creditor's Name
P.O. Box 650448 When was the debt incurred?
Dallas, TX 75265
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
1] Debtor 1 only QO Contingent
FI Debtor 2 only 2 unliquidated
Fl Debtor 1 and Debtor 2 only [1 pisputed
(1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CI check if this claim is for a community C1 Student loans
debt Oi Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Ei No C1 Debts to pension or profit-sharing plans, and other similar debts
[ Yes Fl other. Specify Multiple Accounts
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 8
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Debtor1 Hajrudin Catic
Debtor2 Sanda Catic

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.2 Best Buy Credit Service Last 4 digits of account number $5,1 35.00
Nonpriority Creditor's Name
P.O. Box 78009 When was the debt Incurred?
Phoenix, AZ 85062
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C] Debtor 4 only CO contingent
DF Debtor 2 only a Unliquidated
EA pebtor + and Debtor 2 only CO Disputed
C1 at feast one of the debtors and another Type of NONPRIORITY unsecured claim:
[7] check if this claim Is fora community LJ student loans
debt C obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EA no C] Debts to pension or profit-sharing plans, and other similar debts
Cl Yes EB other. Specify

43 Bonded Collection Corporation Last 4 digits of account number $1,000.00
Nonpriority Creditor's Name
P.O. Box 2248 When was the debt incurred?
Norcross, GA 30091
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1 Debtor 4 only Cl Contingent
C1] Debtor 2 only Fl Unliquidated
Ef Debtor 1 and Debtor 2 only a) Disputed
(3 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
7] Check if this claim is for a community C1 student loans
debt C) Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No [] Debts to pension or profit-sharing plans, and other similar debts
Cl Yes EE other. Specify Business

4.4 Capital One Last 4 digits of account number $20,065.00
Nonpriority Creditor's Name
P.O. Box 6492 When was the debt incurred?
Carol Stream, IL 60197
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1 Debtor 4 only [I Contingent
C1 Debtor 2 only  Unliquidated
Ef Debtor 4 and Debtor 2 only O disputed
CJ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check tf this claim is fora community LI student loans
debt C] Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EE No C1] Debts to pension or profit-sharing plans, and other similar debts
C1 Yes Other. Specify Multiple Accounts

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 8

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Debtor 1 Hajrudin Catic
Debtor2 Sanda Catic

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.5 Capital One Last 4 digits of account number $4,925.00
Nonpriority Creditor’s Name
P.O. Box 6492 When was the debt incurred?
Carol Stream, IL 60197
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C] Debtor 4 only C1 contingent
D1 Debtor 2 only EA unliquidated
E Debtor 1 and Debtor 2 only O Disputed
C1] At least one of the debtors and another Type of NONPRIORITY unsecured claim:
I Check if this claim is for a community C] student loans
debt [7] Obligations arising out of a separation agreement or divorce that you did not
ts the claim subject to offset? report as priority claims
No CJ Debts to pension or profit-sharing plans, and other similar debts
CF Yes other. Specify Business

4.6 Chase Last 4 digits of account number $4,930.00
Nonpriority Creditor's Name
P.O. Box 15123 When was the debt incurred?
Wilmington, DE 19850
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CF debtor 4 only C1 contingent
C1 Debtor 2 only Fl Unliquidated
El Debtor 1 and Debtor 2 only Cc Disputed
CJ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
[1 Check if this claim is for a community LI student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EZ No [) Debts to pension or profit-sharing plans, and other similar debts
Cl Yes E@ other. Specify

4,7 Citi Cards Last 4 digits of account number $21,145.00
Nonpriority Creditor's Name
P.O. Box 9001016 When was the debt incurred?
Louisville, KY 40290
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
[J Debtor 4 only oO Contingent
OI pebtor 2 only i Unliquidated
El Debtor 1 and Debtor 2 only O Disputed
CJ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
Cl check if this claim is fora community LI student loans
debt | Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
FA No C1 pebts to pension or profit-sharing plans, and other similar debts
Cl Yes Ed other. Specify

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 8

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Debtor1 Hajrudin Catic
Debtor2 Sanda Catic

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.8 Citi Cards Last 4 digits of account number $12,210.00
Nonpriority Creditor's Name
P.O. Box 78045 When was the debt incurred?
Phoenix, AZ 85062
Number Street City State ZIp Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
[J Debtor 4 only [J Contingent
C] Debtor 2 only El Unliquidated
EZ pebtor 1 and Debtor 2 only C1 Disputed
[7] At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 student loans
debt a} Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No CI Debts to pension or profit-sharing plans, and other similar debts
CJ Yes EE other. Specify

4.9 Citi Cards Last 4 digits of account number $30,680.00
Nonpriority Creditors Name
P.O. Box 784045 When was the debt incurred?
Phoenix, AZ 85062
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1 Debtor 4 only CO contingent
C1 Debtor 2 only i Uniiquidated
EZ Debtor 1 and Debtor 2 only C1 pisputed
(J At least one of the debtors and another Type of NONPRIORITY unsecured claim:
(1 check if this claim is for a. community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EB No C1 Debts to pension or profit-sharing plans, and other similar debts
C Yes other. Specity Multiple Accounts

41 age

0 Citi Cards Last 4 digits of account number $8,090.00
Nonpriority Creditor’s Name
P.O. Box 9001016 When was the debt incurred?
Louisville, KY 40290
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1 Debtor 4 only C1 contingent
[1] Debtor 2 only EE unliquidated
EB Debtor 1 and Debtor 2 only C1 pisputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
Cl check if this claim is for a community C1 student loans
debt C] Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EZ No C] Debts to pension or profit-sharing plans, and other similar debts
CO Yes E other. Specify Business

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 8

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Debtor1 Hajrudin Catic
Debtor2 Sanda Catic

 

 

 

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.1 . .

1 Comenity Capital Bank Last 4 digits of account number $3,000.00
Nonpriority Creditor's Name
P.O. Box 183003 When was the debt incurred?
Columbus, OH 43218

‘ Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.
C] Debtor 4 only C1 contingent
C1 Debtor 2 only Unliquidated
FE Debtor 4 and Debtor 2 only O Disputed
[J At least one of the debtors and another Type of NONPRIORITY unsecured claim:
(1 check if this claim is for a community C1 student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EA no CI Debis to pension or profit-sharing plans, and other similar debts
Cl Yes El other. Specify

44 : .

2 Credit Control Corporation Last 4 digits of account number $279.00
Nonpriority Creditor's Name
P.O. Box 120630 When was the debt incurred?
Newport News, VA 23612
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CJ Debtor 4 only O contingent
C1 Debtor 2 only  Unliquidated
Ef Debtor 1 and Debtor 2 only C1 Disputed
CJ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
Cl Check if this claim is for a community Ci student loans
debt CI Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? teport as priority claims
EA No C1 Debts to pension or profit-sharing plans, and other similar debts
O yes El other. Specify

44 .

3 Discover Last 4 digits of account number $9,035.00
Nonpriority Creditor's Name
P.O. Box 6103 When was the debt incurred?
Carol Stream, IL 60197
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
J Debtor 4 only C) Contingent
C1 Debtor 2 only Hi Uniiquidated
El Debtor 1 and Debtor 2 only CO Disputed
C1 at least one of the debtors and another Type of NONPRIORITY unsecured claim:
CJ Check if this claim is fora community C1 student loans
debt Ci Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EA no CL] Debts to pension or profit-sharing plans, and other similar debts
C1 Yes EE other. Specify

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 8

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Debtor 1 Hajrudin Catic
Debtor2 Sanda Catic

 

 

 

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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4.4 . .

4 Home Depot Credit Services Last 4 digits of account number $8,870.00
Nonpriority Creditor's Name
P.O. Box 9001010 When was the debt incurred?
Louisville, KY 40290
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
0 Debtor 1 only C] Contingent
CF Debtor 2 only & Unliquidated
Debtor 1 and Debtor 2 only CI Disputed
(C1 at least one of the debtors and another Type of NONPRIORITY unsecured claim:
Cl check if this claim is fora community C1 student loans
debt C] obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EA No C] Debts to pension or profit-sharing plans, and other similar debts
Cl Yes EB other. Specify

4.4

5 JCPenney/Synchrony Last 4 digits of account number $8,220.00
Nonpriority Creditor's Name
P.O. Box 960090 When was the debt incurred?
Orlando, FL 32896
Number Street City State Zlp Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
C] Debtor 4 only C] contingent
C1 Debtor 2 only i unliquidated
Debtor 1 and Debtor 2 only I Disputed
CJ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CQ Cheek if this claim is for a. community C1 student loans
debt [7] Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EZ No CX Debts to pension or profit-sharing plans, and other similar debts
O Yes i other. Specify

44

6 Macys Last 4 digits of account number $8,285.00
Nonpriority Creditor's Name
P.O. Box 78008 When was the debt incurred?
Phoenix, AZ 85062
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CO Debtor 1 only | Contingent
C] Debtor 2 only I Unliquidated
El Debtor + and Debtor 2 only C] Disputed
7 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CJ Check if this claim is for a community C1 Student loans
debt CJ Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
EB No [] Debts to pension or profit-sharing plans, and other similar debts
Cl Yes Other. Specify

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 8

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Debtor 1 Hajrudin Catic
Debtor2 Sanda Catic

 

 

 

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

44 .

7 Paypal Credit Last 4 digits of account number $4,450.00
Nonpriority Creditor's Name
P.O. Box 71202 When was the debt incurred?
Charlotte, NC 28272
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CJ Debtor 1 only CJ Contingent
C1 Debtor 2 only EB unliquidated
FE Debtor 1 and Debtor 2 only a Disputed
(] At least one of the debtors and another Type of NONPRIORITY unsecured claim:
[7] Check if this claim is fora community C1 student loans
debt C] Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EB No CZ Debts to pension or profit-sharing plans, and other similar debts
C1 Yes other. Specify

44

8 Sears Last 4 digits of account number $8,360.00
Nonpriority Creditor's Name
P.O. Bx 9001055 When was the debt incurred?
Louisville, KY 40290
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
C] Debtor 1 only C7 contingent
C1 Debtor 2 only B unliquidated
FE Debtor 1 and Debtor 2 only Oo Disputed
C1 atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is for a community C1 student loans
debt Cl Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EB No [1] Debts to pension or profit-sharing plans, and other similar debts
C1 yYes EA other. Specify

44

9 Synchrony Last 4 digits of account number $1,340.00
Nonpriority Creditor's Name
P.O. Box 960061 When was the debt incurred?
Orlando, FL 32896
Number Street City State Zlp Code As of the date you file, the claim Is: Check all that apply
Who incurred the debt? Check one.
CQ Debtor 1 only C7] Contingent
C1 pebtor 2 only Unliquidated
EB pebtor 1 and Debtor 2 only O Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a. community Ci Student loans
debt C1] Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No CZ Debts to pension or profit-sharing plans, and other similar debts
Cl Yes B other. Specify

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 8

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Best Case Bankruptcy

 
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Debtor 1 Hajrudin Catic
Debtor 2 Sanda Catic

 

0 | Tri-State

 

 

 

Nonpriority Creditor's Name
3439 East Ave. South

La Crosse, WI 54602
Number Street City State Zip Code

Who incurred the debt? Check one.

C1 Debtor 4 only

C1 Debtor 2 only

El Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

CJ Check if this claim is for a community
debt

Is the claim subject to offset?
No
0 Yes

Case number (if known)

 

Last 4 digits of account number $9,381.00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

CJ Contingent
EE! unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:
CJ student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CO Debts to pension or profit-sharing plans, and other similar debts

ES other. Specify

 

 

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

= Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

type of unsecured claim.

 

 

 

 

 

 

 

 

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total
claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. $ 0.00
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d. Other. Add ail other priority unsecured claims. Write that amount here. 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. Ge. $ 0.00
Total Claim
6f. Student loans 6f. $ 0.00
Total
claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims &g. $ :
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i.
here. $ 196,455.00
§j. Total Nonpriority. Add lines 6f through 6i. 8]. $ 196,455.00
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 8 of 8

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Best Case Bankruptcy

 
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Fill-in-this information to identify your case:

Debtor 1 Hajrudin Catic

First Name Middle Name Last Name

Debtor 2 Sanda Catic
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © NORTHERN DISTRICT OF INDIANA

Case number
(if known)

 

() Check if this is an
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
[1 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.

Ml Yes, Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts

and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code
2.1 Stay Lock Storage Unit
8938 Lima Rd.

Fort Wayne, IN 46818

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 14 of 1

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a Rar Meuron) emer — = rr

Debtor 1 Hajrudin Catic

First Name Middle Name

Debtor 2 Sanda Catic

(Spouse if, filing) First Name Middie Name

United States Bankruptcy Court for the: © NORTHERN DISTRICT OF INDIANA

 

Case number

 

(if known)

 

O) Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors

12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write

your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

CI No
Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

El No. Go to line 3.
[ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G), Use Schedule D, Schedule E/F, or Schedule G to fill

out Column 2.

Column 1: Your codebtor
Name, Number, Street, City, State and ZIP Code

3.1. AC Transport Inc.
12351 Gondola Parkway
Fort Wayne, IN 46845

Column 2: The creditor to whom you owe the debt
Check all schedules that apply:

fl Schedule D, line 2.3
[] Schedule E/F, line

CI Schedule G

1st Source Bank

 

3.2 AC Transport Inc.
12351 Gondola Parkway
Fort Wayne, IN 46845

Ei Schedule D, line 2.4
CO] Schedule E/F, line
[]ScheduleG >
Advantage +

 

3.3. AC Transport Inc.
12351 Gondola Parkway
Fort Wayne, IN 46845

Ef Schedule D, line 2.5
C] Schedule E/F, line

C] Schedule G

Banterra Bank

 

Official Form 106H

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Schedule H: Your Codebtors Page 1 of 2

Best Case Bankruptcy

 
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Hajrudin Catic
Debtor 1 Sanda Catic Case number (if known)

 

a Additional Page to List More Codebtors

 

Column 1; Your codebtor

Column 2: The creditor to whom you owe the debt
Check all schedules that apply:

 

 

 

 

 

3.4 ac Transport Inc. , Ei Schedule D, line 2.6
2351 Gondola Parkway Schedule E/F, line
Fort Wayne, IN 46845 OScheduleG ©
BMO Harris Bank
3.5 AC Transport Inc. El Schedule D, line _2.7
12351 Gondola Parkway (] Schedule E/F, line
Fort Wayne, IN 46845 OScheduleG
Cit Digital/Direct Capital Leases
3.6 AC Transport Inc. Schedule D, line 2.11
12351 Gondola Parkway CO] Schedule E/F, line
Fort Wayne, IN 46845 CscheduleG
Sumitomo Finance and Leasing
3.7. AC Transport Inc. Ha Schedule D, line 2.14
12351 Gondola Parkway C] Schedule E/F, line
Fort Wayne, IN 46845 OScheduleG
Volvo Financial Services
3.8 AC Transport Inc. Fl Schedule D, line 2.15
12351 Gondola Parkway O Schedule E/E. line
Fort Wayne, IN 46845 Cl ScheduleG —_
Wabash National
3.9 AC Transportaion Inc. Ei Schedule D, line 2.2

12351 Gondola Parkway
Fort Wayne, IN 46845

C] Schedule E/F, line
[] Schedule G
1st Source Bank

 

Official Form 106H

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Schedule H: Your Codebtors Page 2 of 2

Best Case Bankruptcy

 
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Fill in this information to identi

 

Debtor 1 Hajrudin Catic

Debtor 2 Sanda Catic
(Spouse, if filing)

United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA

Case number Check if this is:
(If known) CJ An amended filing

C] A supplement showing postpetition chapter
13 income as of the following date:

Official Form 106] MM/DDIYYYY
Schedule |: Your Income 4215

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse, If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment

 

 

Debtor.1 ' Debtor 2.or non-filing spouse

 

information.
If you have more than one job, Hf Employed Hl Employed
attach a separate page with Employment status O
information about additional Not employed LI Not employed
employers. . .

proy' Occupation Truck Driver -self

 

Include part-time, seasonal, or

 

self-employed work. Employer's name

Occupation may include student Employer's address
or homemaker, if it applies.

 

How long employed there?

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

i

ForDebtor1. | ForDebtor2or |
| |non-filing' spouse. _

List monthly gross wages, salary, and commissions (before ail payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 4,335.00 $ 0.00
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ 0.00
4. Galculate gross Income. Add line 2 + line 3. 4. | $ 4,335.00 $ 0.00

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 
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Debtor1 Hajrudin Catic
Debtor2 Sanda Catic

11.

12.

13.

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For. Debtor.1 For Debtor.2:or
» -non-filing spouse

Copy line 4 here 4, §$ 4,335.00 $ 0.00
List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 850.00 §$ 0.00
5b. Mandatory contributions for retirement plans 5b.  $ 0.00 $ 0.00
5c. Voluntary contributions for retirement plans 5c. §$ 0.00 $ 0,00
5d. Required repayments of retirement fund loans 5d. $ 0.00 «$ 0.00
5e. Insurance Se. $ 0.00 $ 0.00
5f. Domestic support obligations 5h § 0.00 $ 0.00
5g. Union dues 5g. §$ 0.00 §$ 0.00
5h. Other deductions. Specify: 5h+ $ 0.00 + $ 0.00
Add the payroll deductions. Add lines 5at+5b+5c+5d+5et5f+5g+5h. 6. $ 850.00 $ 0.00
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 3,485.00 $ 0.00
List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income. 8a. $ 0.00 «6$ 0.00
8b. Interest and dividends 8b. $ 0.00 «$ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement. 8c. $ 0.00 $ 0.00
8d. Unemployment compensation 8d. $ 0.00 «$ 0.00
8e. Social Security Be. § 0.00 $ 0.00
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: 8 = $ 0.00 «$ 0.00
8g. Pension or retirement income 8g. $ 0.00 §$ 0.00
8h. Other monthly income. Specify: 8h.t $ 0.00 + $ 0.00
Add all other income. Add lines 8at8b+8c+8d+8e+8f+8g+8h. 9. 1$ 0.00 $ 0.00
Calculate monthly income. Add line 7 + line 9. 10. |$ 3,485.00 | +/ $ 0.00 | = $ 3,485.00

 

 

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 

 

 

 

 

State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your househoid, your dependents, your roommates, and

other friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

 

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it

applies

Do you expect an increase or decrease within the year after you file this form?

a No.

 

 

 

11. +$ 0.00
$ 3,485.00
Combined

monthly income

 

oO Yes. Explain: |

Official Form 106] Schedule I: Your Income

page 2

 

 

 
Case 19-11184-reg Doc1 Filed 07/03/19 Page 38 of 40

Fill.in this information to identify your case:

 

Debtor 4 Hajrudin Catic Check if this is:
( =An amended filing
Debtor 2 Sanda Catic [1 Asupplement showing postpetition chapter

 

(Spouse, if filing) 13 expenses as of the following date:

 

United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA MM /DDIYYYY

Case number
(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

 

a xcliniteaes Describe Your Household
1. Is this a joint case?

C1 No. Go to line 2.
El Yes. Does Debtor 2 live in a separate household?

BNo
[1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

2. Doyou have dependents? [No

 

 

 

 

 

Do not list Debtor 1 and Byes Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. "each dependent............. Debtor 1 or Debtor 2 age live with you?
Do not state the
dependents names. Daughter 4 yes
[] No
Son 5 Byes
FI No
Son 8 Ei Yes
[No
Daughter 10 Byes
3. Do your expenses include BNo

expenses of people other than oO
yourself and your dependents? Yes
Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 1061.)

Your expenses

 

4. Therental or home ownership expenses for your residence. Include first mortgage

 

 

 

 

 

payments and any rent for the ground or lot. .$ 1,515.00

If not included in line 4:

4a. Real estate taxes 4a. $ 0.00

4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00

4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00

4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 500.00

 

Official Form 106J Schedule J: Your Expenses page 14

 
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Debtor1 Hajrudin Catic
Debtor2 Sanda Catic

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oN

11.
12.

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14.
15.

16.

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18.

19.

20.

21.
22.

23.

24,

Official Form 106J

Utilities:
6a. _ Electricity, heat, natural gas
6b. Water, sewer, garbage collection

6d. Other. Specify:

Case number (if known)

 

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Do not include car payments.

Insurance.

15a. Life insurance

15b. Health insurance

15c. Vehicle insurance

15d. Other insurance. Specify:

 

Specify:

 

Instaliment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2
17c. Other. Specify:

 

17d. Other. Specify:

 

Specify:

 

20a. Mortgages on other property
20b. Real estate taxes

Other: Specify:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Calculate your monthly expenses
22a. Add lines 4 through 21.

Calculate your monthly net income.

 

 

 

 

 

 

6a, $ 200.00
6b. $ 90.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 0.00
6d. $ 0.00
7. $ 600.00
8. $ 0.00
9. $ 0.00
10. $ 0.00
11. $ 0.00
Transportation. Include gas, maintenance, bus or train fare. 12. $ 0.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0.00
Charitable contributions and religious donations 14. $ 0.00
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. $ 0.00
15b. § 0.00
15c. $ 100.00
15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
16. $ 0.00
17a. $ 515.00
17b. $ 465.00
17c. $ 0.00
17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061). 18. $ 0.00
Other payments you make to support others who do not live with you. $ 0.00
19,
Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. $ 0.00
20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
21. +$ 0.00
$ 3,985.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c, Add line 22a and 22b. The result is your monthly expenses. $ 3,985.00
23a. Copy line 12 (your combined monthly income) from Schedule 1. 23a. $ 3,485.00
23b. Copy your monthly expenses from line 22c above, 23b. -$ 3,985.00
23c. Subtract your monthly expenses from your monthly income. 230.|$ 500.00

The result is your monthly net income.

Do you expect an increase or decrease in your expenses within the year after you file this form?

 

 

 

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

HE No.

 

Cl Yes. [ Explain here:

Schedule J: Your Expenses

page 2

 
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GK ica Cnc ares

Debtor 4 Hajrudin Catic
First Name Middle Name Last Name

Debtor 2 Sanda Catic
(Spouse ff, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © NORTHERN DISTRICT OF INDIANA

 

Case number
(if known) (1 ~Check if this is an

amended filing

 

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 4245

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Po Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

 

 
 
 

gw No
Yes. Name of person Attach Bankrupicy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)
Under penalty rjury, | declare that | have read the summary and schedulesiled with this declaration and
that they and correct,

   

 

 

Hr Catic™
Signature of Debtor 1

pate AWA 4 Date WF

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules

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